
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date April 7, 1967.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
*848Our consideration of the petition,' the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition is therefore denied.
The motion for attorneys’ fees filed by Respondent Hall is granted in the amount of $250.00.
THOMAS, Acting C. J., ROBERTS, DREW, THORNAL and ERVIN, JJ., concur.
